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[Type text]
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                                                      Southern District of New York
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                                                      New York, New York 10007



                                                      April 16, 2018

BY ECF
Hon. Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Michael Cohen v. United States, 18 Mag. 3161 (KMW)

Dear Judge Wood:

        The United States Attorney’s Office for the Southern District of New York (“USAO-
SDNY”) writes in response to the letter filed by President Donald J. Trump in support of Michael
Cohen’s motion for a temporary restraining order. The President’s letter (the “Letter”) makes
substantially the same arguments already made by Cohen, and does not—and cannot—justify the
relief he seeks: namely, to block the government from carrying out a judicially-approved search,
and for the President and his counsel to themselves act as a privilege screen for all materials
lawfully seized by the government from Cohen’s premises that “relate [to the President] in any
way.” (Letter at 8) (emphasis added). Granting such relief would mark a serious departure from
the accepted, normal practices of this District and erect an unprecedented and unwarranted obstacle
to the government’s ability to investigate attorneys for their own conduct, in this case or any other.
For the reasons that follow, and those set forth in the USAO-SDNY’s memorandum in opposition
to Cohen’s motion (Dkt. 1 (“USAO Br.”)), the Court should deny the motion. That is, the Court
should permit the USAO-SDNY to review the evidence lawfully seized pursuant to judicially-
authorized search warrants, consistent with a rigorous Filter Team protocol that is common
practice in this District.

         First, despite the Court’s invitation to the President to make “any arguments that are
different from those made by Mr. Cohen” (4/13/18 Tr. 19), he has not done so. The closest the
President comes to making a new argument is his assertion that the cases cited by the USAO-
SDNY are distinguishable because none involves documents seized “pursuant to a search of a
lawyer’s office [where] the privilege-holder objects to a taint team procedure.” (Letter at 2). That
is an immaterial distinction. None of the cases cited by the President attaches any significance to
whether it is the privilege-holder or his attorney asserting an objection. See, e.g., United States v.
Winters, No. 06 Cr. 54, 2006 WL 2789864, at *2 (S.D.N.Y. Sept. 27, 2006) (approving prosecution
filter team over objection of privilege-holder); United States v. Grant, No. 04 Cr. 207 (BSJ), 2004
WL 1171258, at *2 (S.D.N.Y. May 25, 2004) (same). That is unsurprising, because, as the Court
recognized at Friday’s hearing, “[i]t appears to me that the [President’s] interests are completely
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parallel with those of Mr. Cohen.” (4/13/18 Tr. 18). The President has offered no reason why that
would be different here, where Cohen has asserted the privilege on his behalf.

         Indeed, the main difference between the President’s brief and that of Cohen is that the
President rejects Cohen’s alternative proposal of a special master.1 (Letter at 4 n.4). But despite
advancing the extreme position that he should review the lawfully-obtained files in the first
instance, the President still cannot identify a single case in which a court has ordered such a
remedy, and for good reason—the President’s proposal would set a dangerous precedent. If, as
the President contends, the only person who could ever ensure that privilege is properly invoked
is the privilege-holder (Letter at 6) then, contrary to common practice in this District, no filter team
would ever be effective in screening the results of a search warrant. The rule would not be limited
to cases involving searches of attorney’s offices. Under the President’s theory, every person who
has communicated with a lawyer would be given the power to turn every search warrant into a
subpoena and to demand the return of lawfully-seized evidence in order to undertake their own
review of the evidence. Such a rule is unworkable and ripe for abuse.

        While the President advances this proposal, he offers no information regarding the scope
of any privileged communications between himself and Cohen that were potentially seized. As
previously stated, the results of USAO-SDNY’s search warrants on multiple email accounts used
by Cohen revealed zero communications between Cohen and the President. (USAO Br. 13). The
President’s letter does not address this.2 Although Cohen and the President may have had an
attorney-client relationship, the President’s failure to proffer facts supporting his assertion that
privileged communications were seized is significant, because the President asks that all of the
seized materials be turned over to Cohen—not just those relating to the President. (Letter at 8).
This remarkably overbroad request could not be justified under any circumstances.

        Second, the President appears to misunderstand the USAO-SDNY’s proposed review
protocol when he states that “as to those communications between Mr. Cohen and his
acknowledged clients, the taint team would immediately release all such communications to the
Investigative Team that it concludes are ‘not privileged,’ again without any input from the
privilege-holder.” (Letter at 4). This is wrong. As set forth in our prior brief, for any
communications between Cohen and a client, the USAO-SDNY would (1) confer with counsel for
the privilege holder at the appropriate time and before any such material is shared with the
Investigative Team and, if no agreement can be reached, submit the material under seal to an
appropriate court for a determination as to privilege; (2) bring the document to a court for an ex
parte determination if appropriate;3 or (3) if the document is of obviously minimal probative value,

1
  On this point, the USAO-SDNY agrees with the President: A special master is not more
warranted than a filter team in this case. It does not follow, however, that only the privilege holder
himself can fairly conduct the review.
2
  This is especially troubling in light of the Court’s expressed desire at Friday’s hearing to
understand more about the nature and extent of Cohen’s legal practice, including whether there is
a basis to believe that potentially-privileged documents existed in what was seized.
3
  Ex parte consideration would be sought in extraordinary cases where it is absolutely necessary—
for instance, where the explanation of why a document is not privileged would jeopardize a covert
aspect of the investigation.
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place the document into the “Privileged” category as a means of efficiently completing the review.
(USAO Br. 6). We emphasize the following three points:

       Other than the extraordinary circumstances described in footnote 3, supra, when there will
        be review by the Court, the President and his counsel will have the opportunity to review
        for privilege any communications between himself and Mr. Cohen (if there are any) and to
        interpose objections before such communications are turned over to the Investigative
        Team.

       The USAO-SDNY has invited Cohen and the President to provide to our Filter Team any
        information – i.e., a client list, or search terms, or identification of any agents who allegedly
        may be part of the attorney-client relationship (see Letter at 4) – to aid the Filter Team’s
        review; and

       The Filter Team has an incentive to be conservative in its determination of what
        is not privileged, and respectful of potential privilege, not only to ensure adherence to
        applicable ethical obligations, but also to avoid additional litigation at a later date. This
        incentive more than adequately addresses the wholly theoretical category of documents
        posited by the President, consisting of documents that are somehow privileged despite
        lacking a client or agent identifier and which pass through the filter team’s close review
        without recognition of its possibly privileged status.4

       Insofar as the President raises hypothetical concerns about the Filter Team’s ability to
accurately assess privilege without “intimate familiarity with the underlying facts and zealous
advocacy on behalf of the privilege-holder,” (Letter at 4 n.4), those concerns are adequately
addressed by the Filter Team procedures. It is undisputed that the USAO-SDNY’s use of filter
teams in white collar cases is a “common procedure” in this District. United States v. Ceglia, 2015
WL 1499194, at *1 (S.D.N.Y. Mar. 30, 2015). The President offers no facts in support of his
argument that it would be any more difficult for the Filter Team to evaluate the nature of his
communications than in any other case.



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  And, in the event the Investigative Team believes that a document that has been released to it for
review may in fact be subject to the attorney-client privilege, it will stop reviewing and refer the
document back to the Filter Team. The circumstances of the Investigative Team’s exposure to the
document will be recorded in the event it may be relevant to any derivative-use or taint litigation,
and counsel and the Court will be notified. (Similar procedures are commonplace in litigation
where there may be an inadvertent transmission of privileged information. See Fed. R. Civ. P.
26(b)(5) & 45(e)(2); Fed. R. Evid. 502(b); N.Y. Rule of Professional Conduct 4.4(b).) That said,
the risk of inadvertent production of a potentially privileged document to the Investigative Team
is particularly remote here, where—on top of its other rigorous procedures previously outlined for
the Court—the Filter Team will review every document twice before it is released to the
Investigative Team.
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        Third, the President’s proposal would place the responsibility for making an initial review
of the material into the hands of a party with an incentive to make overbroad claims of privilege.
(See, e.g., USAO Br. 9 (assertion by the Trump Organization that “We consider each and every
communication by, between, or amongst Mr. Cohen and the Trump Organization and each of its
officers, directors, and employees, to be subject to and protected by the attorney-client privilege
and/or the work-product privilege”)).

        Finally, the President contends that the USAO-SDNY’s prior brief somehow creates
“cause for concern that a taint team could not evaluate Mr. Cohen’s files (and, in particular, those
relating to the President) fairly.” (Letter at 5). This claim is baseless. Our prior brief explained
that the investigation relates in large part to conduct by Cohen in his personal business and
financial dealings, which have nothing to do with any legal practice he may have. There is no
basis for the assertion by the President that career federal prosecutors, designated to a Filter Team,
cannot fairly evaluate whether certain files obtained by a judicially-authorized search warrant
contain privileged material. Further, as the Honorable Barbara Jones held in Grant, “[a]lthough
some of these documents likely contain attorney-client privileged communications, the
Government should be allowed to make fully informed arguments as to privilege if the public’s
strong interest in the investigation and prosecution of criminal conduct is to be adequately
protected.” See Grant, 2004 WL 1171258, at *2. The Filter Team protocol protects that public
interest.

        The President cites the “appearance of fairness and justice” in support of his request for a
privilege review procedure that is unheard of in this District. If anything, given the “attention
trained on this investigation” (Letter at 5), the appearance of fairness and justice requires not that
the President be entitled to different treatment, but that the common procedure of a Filter Team be
followed in the normal course.

        To that end, in Grant, Judge Jones expressly based her decision to approve a prosecution
Filter Team—over the objection of the privilege-holder—“upon the expectation and presumption
that the Government’s privilege team and the trial prosecutors will conduct themselves with
integrity.” Grant, 2004 WL 1171258, at *3. Judge Jones stated that it “seems to me that the
Government is entitled to that presumption and that society’s interest in enforcing the criminal
laws outweighs the limited incursion into the attorney client privilege that this process permits.”
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Id. The President does not—and cannot—proffer any reason whatsoever why the USAO-SDNY
is not entitled to the same presumption here.

                                       Respectfully submitted,

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                                       Acting Under Authority Conferred by 28 U.S.C. § 515



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